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UNITED STATES DISTRICT COURT v-
SOUTHERN DISTRICT OFNEWYORK ‘ el

   

JOEL RICH and MARY RICH, : Civil Action No.: i:lS-cv-OZZZS-GBD
Plaintiffs,

v.

FOX NEWS NETWORK, LLC, MALIA ZTMMERMAN

in her individual and professional capacities, and ED

BUTOWSKY, in his individual and professional

capacitiesJ

Defendants.

()RDER FOR ADMISSION PRO HAC YI§ §E

The motion of Leonard A. Gail, for admission to practice P!'O Hac Vr`ce in the above captioned
action is granted
Applicant has declared that he is a member in good standing of the bar of the state of Illinois;
and that his Contact information is as follows:
Leonard A. Gail
Massey & Gaii LLP
50 East Washington Street, Suite 400

Chicago, lL 60602
Telephone: (312) 283-1590 / Facsimile: (312) 379-0467

igai l@lnasseygail.com

Applicant having requested admission Pro Hac V:'ce to appear for ali purposes as counsel for
Joel Rich and Mary Rich in the above entitled action;

IT IS HEREBY ORDERED that Applicant is admitted to practice P:‘o Hac Vice in the above
captioned case in the United States District court for the Southern District ofNeW York. AlI attorneys
appearing before this Court are subject to the Local Rules of this Court, including the Rules governing
discipline of attorneys

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